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                                         ORDERED.

      Dated: September 25, 2018




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

IN RE:
                                                        CASE NO.: 8:18-bk-06063-RCT
GUSTAVO ADOLFO BRENES
          Debtor                                        Chapter 7
                                                    /

                  ORDER GRANTING MOTION FOR RELIEF
             FROM AUTOMATIC STAY FILED BY WELLS FARGO
        BANK N.A., AS TRUSTEE, FOR CARRINGTON MORTGAGE LOAN
    TRUST, SERIES 2006-NC5 ASSET-BACKED PASS-THROUGH CERTIFICATES

        THIS CASE came on for consideration at a hearing on September 18, 2018 on the

Motion for Relief from Automatic Stay filed by WELLS FARGO BANK N.A., AS

TRUSTEE, FOR CARRINGTON MORTGAGE LOAN                             TRUST,       SERIES      2006-

NC5       ASSET-BACKED              PASS-THROUGH CERTIFICATES (the "Motion") (Doc.

10) and the Trustee's Response (Doc. 12).        For the reasons stated orally on the record that

shall constitute the decision of the court, accordingly, it is

        ORDERED:


    1. The Motion (Doc. 10) is GRANTED.


    2. The automatic stay arising by reason of 11 U.S.C. Section 362 of the Bankruptcy Code is
        terminated as to Movant’s interest in the following property:
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                THE EAST 60 FEET OF THE WEST 247 FEET OF THE NORTH 154
                FEET OF THE NORTHWEST 1/4 OF THE SOUTHWEST 1/4 OF
                SECTION 25, TOWNSHIP 28 SOUTH, RANGE 18 EAST, OF THE
                PUBLIC RECORDS OF HILLSBOROUGH COUNTY, FLORIDA.

                Property Address: 824 W KIRBY ST., TAMPA, FL 33604.

   3. The Order Granting Relief from Stay is entered for the purpose of allowing Movant

complete in rem relief to take any and all steps necessary to exercise any and all rights it may

have in the collateral, to gain possession of said collateral, to schedule (or re-schedule) a

foreclosure sale, to have such other and further in rem relief as is just, but the Movant shall not

obtain in personam relief against the Debtor.

   4. Movant is permitted to have communications directly with the Debtor in order to offer

and provide information in regard to a potential Forbearance Agreement, Loan Modification,

Refinance Agreement or other Loan Workout/Loss Mitigation Agreement, as well as to provide

notices required by state law, and furthermore, to enter into such agreement with Debtor. Movant

acknowledges that such communications shall be limited and it shall not enforce or threaten to

enforce any personal liability against Debtor that is discharged in this bankruptcy.


    5. The effective date of this Order is delayed for a period of thirty (30) days from the date of

entry of this Order.




Attorney Suzanne Delaney is directed to serve a copy of this order on the parties listed below
and file a proof of service within 3 days of entry of the Order.

Service List:

Gustavo Adolfo Brenes, 824 W. Kirby Street, Tampa, FL 33604
Jorge O. Acosta, PO Box 4410, Tampa, FL 33677 (via email at Jorge@attorneyacosta.com)
Carolyn R. Chaney, Trustee, PO Box 530248, St. Petersburg, FL 33747
United States Trustee – TPA 7/13-7, Timberlake Annex, Suite 1200, 501 E. Polk Street, Tampa,
FL 33602.

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